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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
                                   CRIMINAL MINUTES – GENERAL

                 LACR 19-00642-VAP-1 
 Case No.                                                            Date     February 9, 2021
                 LACR 20-00155-VAP
 Title United States of America v. Imaad Shah Zuberi



 Present: The Honorable             VIRGINIA A. PHILLIPS, UNITED STATES DISTRICT JUDGE


                 Christine Chung                                         Not Reported
                   Deputy Clerk                                         Court Reporter


        Attorney(s) Present for Plaintiff(s):                Attorney(s) Present for Defendant(s):
                       None                                                   None


 Proceedings:          MINUTE ORDER RE: PROPOSED REDACTIONS LODGED BY THE PARTIES (IN
                       CHAMBERS)


        The Court has received and considered the parties’ proposed redactions to the documents
currently sealed on the docket for this action that were identified in the Court’s January 21, 2021
Order for unsealing. The parties’ respective proposed redactions were lodged with the Court on
February 8, 2021 and the Court has reviewed them in camera.

         As stated in the Court’s January 21, 2021 Order, the Court has reviewed all of the under
seal filings in this case as well as the parties’ proposed redactions to some of those documents
and finds no compelling interest outweighs the public’s interest in access to records of judicial
proceedings as to the documents discussed below. In some instances, described below, proposed
redactions are approved to remove from the public docket personal identifying information, such
as residential addresses and Social Security numbers; the identities of third parties; and
references to documents not ordered unsealed, such as transcripts of grand jury proceedings and
materials reflecting ongoing investigations.

        The Court notified the parties during today’s hearing of the following issues and sets
forth specific instructions below. 1


    1All of the references to the docket in this Order are to entries in case number LACR 19-
    00642-VAP-1.

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Proposed Redactions by the Government:
        The Government is ordered to file the following documents in the public docket without
redacting the references to Anwar Bukhamseen, BHUS, Arun Rangachari, Dar World
Investments:
            • Dkt. No. 53 (declaration) ¶¶ 37, 38, 40, 41(a), 46, 47, 48
            • Dkt. No. 53, Exh. 9
            • Dkt. No. 53, Exh. 10
            • Dkt. No. 53, Exh. 11
            • Dkt. No. 53, Exh. 12
            • Dkt. No. 53, Exh. 15
            • Dkt. No. 94, Exh. 18
            • Dkt. No. 100 (declaration) fn. 1
            • Dkt. No. 267 (declaration) ¶¶ 6, 7
            • Dkt. No. 267, Exh. 4
            • Dkt. No. 267, Exh. 4A

       The Government is ordered to correct redactions on the following documents to ensure
the proposed redaction conceals the entire name intended:
           • Dkt. No. 53 (declaration)
           • Dkt. No. 53, Exh. 13, portions of signatures on several pages are still visible
           • Dkt. No. 94, Exh. 6 at page 7
           • Dkt. No. 97, Exh. 10 at page 5
           • Dkt. No. 100, Exh. 7 at page 30
           • Dkt. No. 267, Exh. 2 at page 11, portion of address at the top is still visible
           • Dkt. No. 267, Exh. 6A at page 2 at the top
           • Dkt. No. 267, Exh. 6B at page 2 at the top
           • Dkt. No. 267, Exh. 6E at page 2 at the top
           • Dkt. No. 267, Exh. 7 at page 2 at the top

       The Government did not propose any redactions for the following documents, and the
Court orders the Government to file them in the public docket without redaction and with
reference to the docket numbers under which they were originally filed:
            • Dkt. No. 94, Exh. 17
            • Dkt. No. 97, Exh. 8
            • Dkt. No. 100, Exh. 11

        As to Dkt. No. 258, Exh. 18A and 18B, the Court approves the proposed redactions
except as to the headings of the charts.
.
        As to Dkt. No. 258, Exh. 17 page 2, Dkt. No. 267, Exh. 1D page 6, and Dkt. No. 267,
Exh. 5, page 2, the Court approves only redaction of the names, portions of email addresses, and
the telephone numbers.




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Proposed Redactions by Defendant:
       The Court DENIES Defendant’s request to redact the names of financial institutions
where he holds accounts, the references to CIPA, and places where Defendant has conducted
business.

        Defendant did not propose any redactions to the following documents, and shall file them
in the public docket with reference to the docket numbers under which they were originally filed:
            • Dkt. No. 82
            • Dkt. No. 102
            • Dkt. No. 103, Exh. 12, 17-24
            • Dkt. No. 117
            • Dkt. No. 119
            • Dkt. No. 126, Exh. 4, 8
            • Dkt. No. 139
            • Dkt. No. 170
            • Dkt. No. 184
            • Dkt. No. 192
            • Dkt. No. 219
            • Dkt. No. 221
            • Dkt. No. 223
            • Dkt. No. 251
            • Dkt. No. 252
            • Dkt. No. 253
            • Dkt. No. 255, Exh. 7-8, 18-21, 36, 37, 41, 42
            • Dkt. No. 276

        Several of the documents with proposed redactions do not comply with the Court’s
instructions set forth in the January 21, 2021 Order. The Court directs Defendant to file in the
public docket the following documents (with reference to the earlier docket number of the
document filed under seal), with the changes to the proposed redactions noted below:
            • Dkt. No. 103, Exh. 3: the Court approves the proposed redaction of only the
                account information; all other proposed redactions shall be removed.
            • Dkt. No. 103, Exh. 4: all proposed redactions shall be removed and the document
                shall be filed in the public docket.
            • Dkt. No. 103, Exh. 5: the Court approves only the proposed redactions of
                addresses and account numbers; all other proposed redactions shall be removed.
            • Dkt. No. 103, Exh. 6: the Court approves only the proposed redaction of
                addresses and account numbers; all other proposed redactions shall be removed.
            • Dkt. No. 103, Exh. 15: on pages 1 and 2, Defendant shall remove the proposed
                redaction of the recipients on the “cc” lines of the emails and on page 2, shall
                remove the proposed redaction of the sender at the top message and the cc on the
                second message.
            • Dkt. No. 103, Exh. 16: the Court approves the proposed redaction of the names of
                the third parties.


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               •   Dkt. No. 103, Exh. 25: the Court approves only the redactions of the signatures on
                   this document; all other proposed redactions shall be removed.
               •   Dkt. No. 126 (declaration), ¶ 3: the Court approves only the proposed redaction of
                   the name of a third party; the proposed redaction of the bank name and location
                   shall be removed.
               •   Dkt. No. 126, Exh. 4, 5: unredacted versions of these documents shall be filed in
                   the public docket.
               •   Dkt. No. 126, Exh. 6: the Court approves only the proposed redaction of bank
                   account number; all other proposed redactions shall be removed.
               •   Dkt. No. 126, Exh. 7: the Court approves only the proposed redactions of the
                   signatures on this document; all other redactions shall be removed.
               •   Dkt. No. 126, Exh. 9: the Court approves only the proposed redactions of the
                   telephone number and account number; all other redactions shall be removed.
               •   Dkt. No. 126, Exh. 11: the Court approves only the proposed redactions of the
                   signatures on this document; all other redactions shall be removed.
               •   Dkt. No. 254 (sentencing position): The proposed redactions located on the
                   following pages shall be removed: page 9, page 21 line 2, pages 22, 24-26. The
                   Court approves the proposed redactions located on the following pages: pages 12-
                   14, 20, page 21 lines 22-27, pages 28-29, page 41 footnote 18, page 45
               •   Dkt. No. 255, Exh. 1-6, 11, 15-17, 22-24, 26, 31-33, 38-40, 53 (letters in support
                   of Defendant for sentencing purposes): The Court approves only the proposed
                   redactions of the telephone numbers and email addresses; all other proposed
                   redactions shall be removed.
               •   Dkt. No. 255, Exh. 12: the Court approves the proposed redactions.
               •   Dkt. No. 255, Exh. 25: the document shall be filed in the public docket with no
                   redactions.
               •   Dkt. No. 255, Exh. 29, 43: the Court approves the proposed redactions.
               •   Dkt. No. 255, Exh. 30: the document shall be filed in the public docket with no
                   redactions.
               •   Dkt. No. 255, Exh. 34-35: the Court approves the proposed redactions of bank
                   account numbers; all other proposed redactions shall be removed.
               •   Dkt. No. 255, Exh. 45: the Court approves the proposed redactions of account
                   numbers and, on the last page of the exhibit, the telephone number and email
                   address; all other proposed redactions shall be removed.
               •   Dkt. No. 255, Exh. 47-52: these documents shall be filed in the public docket with
                   no redactions.

        The Court orders the parties to implement the foregoing revisions to the documents
identified above. By noon on February 10, 2021, the parties shall file on the public docket
the foregoing documents with only the redactions approved by the Court and shall include
a reference to the original sealed docket number in the title of the document.

        As neither party proposed redactions to the following documents, which the Court
identified for unsealing in the January 21, 2021 Order and which are not otherwise addressed
supra, the Court orders the Clerk of Court to UNSEAL the following docket entries: Dkt. Nos.

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46, 52, 64, 66, 67, 93, 96, 99, 104, 106, 108, 111-114, 129, 131, 139, 143, 150, 152, 159, 167,
170, 180, 184, 192, 197, 208, 219, 221, 223, and 246-249, 257, 260, 263, 266, 270, and 273.

        IT IS SO ORDERED.




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